           20-11850-mg               Doc 1            Filed 08/11/20 Entered 08/11/20 22:41:16                              Main Document
                                                                   Pg 1 of 17

Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            Southern District of New York
                                            (State)                                                                                       ☐ Check if this is an
Case number (if known):                                        Chapter         11                                                             amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
      known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s Name                         Hermitage Offshore Services Ltd.



2. All other names debtor used
                                           Nordic American Offshore Ltd.
   in the last 8 years

     Include any assumed names, trade
     names, and doing business as
     names

3. Debtor’s federal Employer
   Identification Number (EIN)                    N/A


4. Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                           “Les Industries”, 2 Rue du Gabian                            N/A
                                           Number            Street                                     Number           Street




                                                                                    MC     98000
                                           City                             State        Zip Code       City                             State      Zip Code


                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business

                                           Monaco                                                       LOM Building 27 Reid Stree
                                           County                                                       Number           Street




                                                                                                        Hamilton                       HM        11, Bermuda
                                                                                                        City                             State      Zip Code




5. Debtor’s website (URL)                  https://www.hermitage-offshore.com/

6.   Type of debtor                        ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           ☐ Partnership (excluding LLP)

                                           ☐ Other. Specify:


                                                  A. Check One:
7.   Describe debtor’s business
                                                  ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))
           20-11850-mg                Doc 1       Filed 08/11/20 Entered 08/11/20 22:41:16                                 Main Document
                                                               Pg 2 of 17
Debtor            Hermitage Offshore Services Ltd.                                     Case number (if known)
           Name


                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:

                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)

                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4831 (Deep Sea, Coastal, and Great Lakes Water Transportation)

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

     A debtor who is a “small business        ☐ Chapter 9
     debtor” must check the first sub-
     box. A debtor as defined in §            ☒ Chapter 11. Check all that apply:
     1182(1) who elects to proceed
     under subchapter V of chapter 11                           ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     (whether or not the debtor is a                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     “small business debtor”) must                                $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     check the second sub-box.                                    operations, cash-flow statement, and federal income tax return or if any of these documents do
                                                                  not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                                ☐ A plan is being filed with this petition.

                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing for
                                                                  Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.

                                              ☐ Chapter 12
9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.      District                            When                            Case number
   within the last 8 years?                                                                        MM/DD/YYYY
    If more than 2 cases, attach a                   District                            When                            Case number
    separate list.                                                                                 MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                         Relationship      Affiliate
                                                     Debtor      See Rider 1
    business partner or an
    affiliate of the debtor?                         District    Southern District of New York
    List all cases. If more than 1,                                                                                     When              08/11/2020
    attach a separate list.                          Case number, if known _______________________                                        MM / DD / YYYY



   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
               20-11850-mg               Doc 1         Filed 08/11/20 Entered 08/11/20 22:41:16                                       Main Document
                                                                    Pg 3 of 17
    Debtor            Hermitage Offshore Services Ltd.                                          Case number (if known)
               Name



    11. Why is the case filed in this         Check all that apply:
        district?
                                              ☐     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                    preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                              ☒     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have           ☒ No
        possession of any real property       ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        or personal property that needs
        immediate attention?                              Why does the property need immediate attention? (Check all that apply.)

                                                          ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                               safety.
                                                               What is the hazard?

                                                          ☐    It needs to be physically secured or protected from the weather.

                                                          ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                               example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                                          ☐    Other


                                                          Where is the property?
                                                                                                  Number           Street



                                                                                                  City                                     State        Zip Code



                                                          Is the property insured?

                                                          ☐ No

                                                          ☐ Yes.       Insurance agency
                                                                       Contact name
                                                                       Phone




                           Statistical and administrative information

    13. Debtor's estimation of               Check one:
        available funds
                                             ☒ Funds will be available for distribution to unsecured creditors.
                                             ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                  ☐      1-49                         ☐        1,000-5,000                         ☐     25,001-50,000
        creditors 1                          ☐      50-99                        ☐        5,001-10,000                        ☐     50,001-100,000
                                             ☒      100-199                      ☐        10,001-25,000                       ☐     More than 100,000
                                             ☐      200-999



    15. Estimated assets                     ☐      $0-$50,000                   ☐        $1,000,001-$10 million               ☐    $500,000,001-$1 billion
                                             ☐      $50,001-$100,000             ☐        $10,000,001-$50 million              ☐    $1,000,000,001-$10 billion
                                             ☐      $100,001-$500,000            ☐        $50,000,001-$100 million             ☐    $10,000,000,001-$50 billion
                                             ☐      $500,001-$1 million          ☒        $100,000,001-$500 million            ☐    More than $50 billion




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
          20-11850-mg              Doc 1           Filed 08/11/20 Entered 08/11/20 22:41:16                                         Main Document
                                                                Pg 4 of 17
Debtor            Hermitage Offshore Services Ltd.                                           Case number (if known)
           Name




16. Estimated liabilities              ☐       $0-$50,000                     ☐        $1,000,001-$10 million                ☐    $500,000,001-$1 billion
                                       ☐       $50,001-$100,000               ☐        $10,000,001-$50 million               ☐    $1,000,000,001-$10 billion
                                       ☐       $100,001-$500,000              ☐        $50,000,001-$100 million              ☐    $10,000,000,001-$50 billion
                                       ☐       $500,001-$1 million            ☒        $100,000,001-$500 million             ☐    More than $50 billion

                    Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    authorized representative of
    debtor                                 I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on           08/11/2020
                                                                  MM/ DD / YYYY


                                                /s/ Cameron Mackey                                                      Cameron Mackey
                                                Signature of authorized representative of debtor         Printed name

                                                Title    Director




18. Signature of attorney                       /s/ Brian S. Rosen                                                   Date         08/11/2020
                                                Signature of attorney for debtor                                                 MM/DD/YYYY



                                                Brian S. Rosen

                                                Proskauer Rose LLP
                                                Firm name
                                                Eleven Times Square
                                                Number                        Street
                                                New York                                                                     NY                   10036
                                                City                                                                         State                  ZIP Code
                                                (212) 969-3000                                                               brosen@proskauer.com
                                                Contact phone                                                                     Email address
                                                2011534                                                          NY
                                                Bar number                                               State




   Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 4
       20-11850-mg                Doc 1           Filed 08/11/20 Entered 08/11/20 22:41:16          Main Document
                                                               Pg 5 of 17



 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                           Southern District of New York
                                           (State)                                                      ☐ Check if this is an
 Case number (if known):                                   Chapter   11                                     amended filing


                                                                     Rider 1
                   Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

         On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of
title 11 of the United States Code. The Debtors have moved for joint administration of these cases under
the case number assigned to the chapter 11 case of Hermitage Offshore Services Ltd..


                             COMPANY                                                     CASE NUMBER

 Hermitage Offshore Services Ltd.                                              20-_________ (   )

 PSV Adminco 2019 LLC                                                          20-_________ (   )

 CB Holdco Limited                                                             20-_________ (   )

 Blue Power Limited                                                            20-_________ (   )

 Delta Cistern V Limited                                                       20-_________ (   )

 Sierra Cistern V Limited                                                      20-_________ (   )

 Petro Craft 2017-1 Shipping Company Limited                                   20-_________ (   )

 Petro Craft 2017-2 Shipping Company Limited
                                                                               20-_________ (   )

 Petro Craft 2017-3 Shipping Company Limited                                   20-_________ (   )

 Petro Craft 2017-4 Shipping Company Limited                                   20-_________ (   )

 Petro Craft 2017-5 Shipping Company Limited                                   20-_________ (   )

 Petro Craft 2017-7 Shipping Company Limited                                   20-_________ (   )
   20-11850-mg      Doc 1   Filed 08/11/20 Entered 08/11/20 22:41:16   Main Document
                                         Pg 6 of 17



Petro Craft 2017-8 Shipping Company Limited       20-_________ (   )

Petro Combi 6030-01 Shipping Company Limited      20-_________ (   )

Petro Combi 6030-02 Shipping Company Limited      20-_________ (   )

Petro Combi 6030-03 Shipping Company Limited      20-_________ (   )

Petro Combi 6030-04 Shipping Company Limited      20-_________ (   )

Hermit Storm Shipping Company Limited             20-_________ (   )

Hermit Viking Shipping Company Limited            20-_________ (   )

Hermit Protector Shipping Company Limited         20-_________ (   )

Hermit Guardian Shipping Company Limited          20-_________ (   )

Hermit Thunder Shipping Company Limited           20-_________ (   )

Delta PSV Norway AS                               20-_________ (   )

NAO Norway AS                                     20-_________ (   )

Hermit Galaxy Shipping Company Limited            20-_________ (   )

Hermit Horizon Shipping Company Limited           20-_________ (   )

Hermit Power Shipping Company Limited             20-_________ (   )

Hermit Prosper Shipping Company Limited           20-_________ (   )

Hermit Fighter Shipping Company Limited           20-_________ (   )
     20-11850-mg       Doc 1     Filed 08/11/20 Entered 08/11/20 22:41:16             Main Document
                                              Pg 7 of 17



                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                  )
In re:                                            )    Chapter 11
                                                  )
Hermitage Offshore Services Ltd.                  )    Case No. 20-___________(___)
                                                  )
                                                  )
                       Debtor.                    )
                                                  )

               LIST OF CREDITORS HOLDING 5 LARGEST SECURED CLAIMS

   The following is a list of those creditors holding the five (5) largest secured claims against the Debtors,
   on a consolidated basis, as of the Petition Date. As of the Petition Date, there were only two (2) creditors
   holding secured claims against the Debtors.

   This list has been prepared from the books and records of the Debtors, and in accordance with
   Bankruptcy Rule 1007(d), for filing in the Debtors’ chapter 11 cases.

   The information set forth herein shall not constitute an admission of liability by, nor is binding on, the
   Debtors and the failure to list a claim as contingent, disputed, or subject to set off shall not be a waiver
   of any of the Debtors’ rights relating thereto.

                                 [Remainder of Page Intentionally Left Blank]
     20-11850-mg       Doc 1     Filed 08/11/20 Entered 08/11/20 22:41:16            Main Document
                                              Pg 8 of 17




                 Lender/Address                       Claim              Description of Collateral 2
     1. Skandinaviska Enskilda Banken AB         $66,452,566         10 PSVs: Hermit Storm; Hermit
     (Publ), Oslo Branch                                             Viking; Hermit Protector; NAO
     Fillipstad Brygge 1                                             Guardian; Hermit Thunder; Hermit
     NO-0123 Oslo                                                    Galaxy; Hermit Horizon; Hermit
                                                                     Power; Hermit Prosper; Hermit
                                                                     Fighter
                                                                     11 Crew Boats: Petro Craft 2005-1;
     2. DNB Bank ASA                             $66,452,566         Petro Craft 2005-2; Petro Craft
     Dronning Eufemias gate 30                                       1605-1; Petro Craft 1605-2; Petro
     P.O. Box 1600 Sentrum                                           Craft 1605-3; Petro Craft 1605-5;
     0021 Oslo                                                       Petro Craft 1605-6; Petro Craft
     Norway                                                          1905-01; Petro Craft 1905-02; Petro
     E-mail address: agentdesk@dnb.no                                Craft 1905-03; Petro Craft 1905-04
     Attention: Agent Desk

     DECLARATION UNDER PENALTY OF PERJURY:
         I, the undersigned authorized Designated Person on behalf of the Debtors, declare under penalty of
perjury that I have read the foregoing List of Creditors Holding 5 Largest Secured Claims and that the list
is true and correct to the best of my information and belief.


    Dated: August 11, 2020                             /s/ Cameron Mackey
                                                       By: Cameron Mackey
                                                       Title: Designated Person




2 Both SEB and DNB are lenders on the DNB/SEB Facility, which is secured by, among other things, the PSVs and
the Crew Boats.
    20-11850-mg        Doc 1   Filed 08/11/20 Entered 08/11/20 22:41:16              Main Document
                                            Pg 9 of 17



                          UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                    )
    In re:                                          )    Chapter 11
                                                    )
    Hermitage Offshore Services Ltd.                )    Case No. 20-___________(___)
                                                    )
                                                    )
                          Debtor.                   )
                                                    )

                           LIST OF EQUITY SECURITY HOLDERS 3

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies
all holders having a direct or indirect ownership interest of the above-captioned debtor in
possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or more
of any class of the debtor’s equity interest.

☒ The following are the debtor equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

       Equity Holder                    Address of Equity Holder                         Percentage
                                                                                           Owned
    Scorpio Services       Trust Company Complex, Ajeltake Road, Ajeltake              30.22%
    Holding Limited        Island, Majuro, Marshall Islands MH96960
    Scorpio Offshore       Trust Company Complex, Ajeltake Road, Ajeltake              25.94%
    Holding Inc.           Island, Majuro, Marshall Islands MH96960
    Scorpio Offshore       Trust Company Complex, Ajeltake Road, Ajeltake              11.39%
    Investments Inc.       Island, Majuro, Marshall Islands MH96960




3This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the Chapter 11
Cases.
 20-11850-mg        Doc 1    Filed 08/11/20 Entered 08/11/20 22:41:16           Main Document
                                          Pg 10 of 17



                       UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


                                         )
 In re:                                  )   Chapter 11
                                         )
 Hermitage Offshore Services Ltd.        )   Case No. 20-___________(___)
                                         )
                                         )
                     Debtor.             )
                                         )
         DEBTORS’ CORPORATE OWNERSHIP STATEMENT PURSUANT
                     TO FED. R. BANKR. P. 1007(A)(1) AND 7007.1

          Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Hermitage Offshore Services Ltd. (“Hermitage”) and certain of its debtor affiliates, as debtors and

debtors in possession in the above-captioned chapter 11 cases, respectfully represent as follows:

           1. The following entities own ten percent (10%) or more of Hermitage’s equity interests:

           Name                                 Address                             Shares (%)

 Scorpio Services         Trust Company Complex, Ajeltake Road, Ajeltake          30.22%
 Holding Limited          Island, Majuro, Marshall Islands MH96960
 Scorpio Offshore         Trust Company Complex, Ajeltake Road, Ajeltake          25.94%
 Holding Inc.             Island, Majuro, Marshall Islands MH96960
 Scorpio Offshore         Trust Company Complex, Ajeltake Road, Ajeltake          11.39%
 Investments Inc.         Island, Majuro, Marshall Islands MH96960


                  a. 100% CB Holdco Limited is directly owned by Hermitage;

                          i. 100% of Petro Craft 2017-1 Shipping Company Limited is directly

                             owned by CB Holdco Limited which is a 100% owned subsidiary of

                             Hermitage;

                         ii. 100% of Petro Craft 2017-2 Shipping Company Limited is directly

                             owned by CB Holdco Limited which is a 100% owned subsidiary of

                             Hermitage;
20-11850-mg   Doc 1   Filed 08/11/20 Entered 08/11/20 22:41:16      Main Document
                                   Pg 11 of 17



                 iii. 100% of Petro Craft 2017-3 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                 iv. 100% of Petro Craft 2017-4 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                  v. 100% of Petro Craft 2017-5 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                 vi. 100% of Petro Craft 2017-7 Shipping Company is directly owned by

                      CB Holdco Limited which is a 100% owned subsidiary of Hermitage;

                 vii. 100% of Petro Craft 2017-8 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                viii. 100% of Petro Combi 6030-01 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                 ix. 100% of Petro Combi 6030-02 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;

                  x. 100% of Petro Combi 6030-03 Shipping Company Limited is directly

                      owned by CB Holdco Limited which is a 100% owned subsidiary of

                      Hermitage;
20-11850-mg    Doc 1    Filed 08/11/20 Entered 08/11/20 22:41:16         Main Document
                                     Pg 12 of 17



                    xi. 100% of Petro Combi 6030-04 Shipping Company Limited is directly

                        owned by CB Holdco Limited which is a 100% owned subsidiary of

                        Hermitage;

              b. 100% of Blue Power Limited is directly owned by Hermitage;

                     i. 100% of Delta Cistern V Limited is directly owned by Blue Power

                        Limited which is a 100% owned subsidiary of Hermitage;

                           1. 100% of Hermit Storm Shipping Company Limited is owned

                               by Delta Cistern V Limited, a subsidiary of Blue Power

                               Limited which is a 100% owned subsidiary of Hermitage;

                           2. 100% of Hermit Viking Shipping Company Limited is owned

                               by Delta Cistern V Limited, a subsidiary of Blue Power

                               Limited which is a 100% owned subsidiary of Hermitage;

                           3. 100% of Hermit Protector Shipping Company Limited is

                               owned by Delta Cistern V Limited, a subsidiary of Blue Power

                               Limited which is a 100% owned subsidiary of Hermitage;

                           4. 100% of Guardian Shipping Company Limited is owned by

                               Delta Cistern V Limited, a subsidiary of Blue Power Limited

                               which is a 100% owned subsidiary of Hermitage;

                           5. 100% of Hermit Thunder Shipping Company Limited is

                               owned by Delta Cistern V Limited, a subsidiary of Blue Power

                               Limited which is a 100% owned subsidiary of Hermitage;

                    ii. 100% of Sierra Cistern V Limited is directly owned by Blue Power

                        Limited which is a 100% owned subsidiary of Hermitage;
20-11850-mg    Doc 1   Filed 08/11/20 Entered 08/11/20 22:41:16            Main Document
                                    Pg 13 of 17



                              1. 100% of Hermit Galaxy Shipping Company Limited is owned

                                   by Sierra Cistern V Limited, a subsidiary of Blue Power

                                   Limited which is a 100% owned subsidiary of Hermitage;

                              2.   100% of Hermit Horizon Shipping Company Limited is

                                   owned by Sierra Cistern V Limited, a subsidiary of Blue

                                   Power Limited which is a 100% owned subsidiary of

                                   Hermitage;

                              3. 100% of Hermit Power Shipping Company Limited is owned

                                   by Sierra Cistern V Limited, a subsidiary of Blue Power

                                   Limited which is a 100% owned subsidiary of Hermitage;

                              4. 100% of Hermit Prosper Shipping Company Limited is owned

                                   by Sierra Cistern V Limited, a subsidiary of Blue Power

                                   Limited which is a 100% owned subsidiary of Hermitage;

                              5. 100% of Hermit Fighter Shipping Company Limited is owned

                                   by Sierra Cistern V Limited, a subsidiary of Blue Power

                                   Limited which is a 100% owned subsidiary of Hermitage;

                   iii. 100% of NAO Norway AS is owned by Blue Power Limited which is

                       a 100% owned subsidiary of Hermitage;

                   iv. 100% of Delta PSV Norway AS is owned by Blue Power Limited

                       which is a 100% owned subsidiary of Hermitage;

              c. 100% of PSV Adminco 2019 LLC is owned by Hermitage; and

              d. 100% of AHTS Holdco Limited (a non-debtor) is directly owned by

                 Hermitage.
       20-11850-mg                 Doc 1          Filed 08/11/20 Entered 08/11/20 22:41:16                                     Main Document
                                                               Pg 14 of 17


     Fill in this information to identify the case and this filing:


   Debtor Name Hermitage           Offshore Services Ltd.
   United States Bankruptcy Court for the:                     Southern District of New York
                                                                                                         (State)
   Case number (If known):                                                                             New York



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                      12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



              Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
          individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official
            Form 204)
      ☒     Other document that requires a declaration                           List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                        /s/ Cameron Mackey
                                           08/11/2020
                                           MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                       Cameron Mackey
                                                                                       Printed name
                                                                                       Director

                                                                                       Position or relationship to debtor
 20-11850-mg         Doc 1     Filed 08/11/20 Entered 08/11/20 22:41:16                  Main Document
                                            Pg 15 of 17


                             HERMITAGE OFFSHORE SERVICES LTD.

                                    SECRETARY’S CERTIFICATE

                                             AUGUST 11, 2020



         I, Fan Yang, in my capacity as secretary of Hermitage Offshore Services Ltd., a corporation formed
under the laws of Bermuda (the “Corporation”), do hereby certify that the following resolutions were
passed at the meeting of the board of directors (the “Board”) of the Corporation validly convened on August
11, 2020 at 5:00 p.m. CEST throughout which a quorum of directors entitled to vote on the resolutions was
present, to consider the Corporation and each of its subsidiaries listed in Exhibit A (the “Subsidiaries”)
filing a voluntary petition (a “Petition”) for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York
(the “Bankruptcy Court”).

                              EXTRACT OF RESOLUTIONS OF BOARD

         RESOLVED, that the Corporation and each of its Subsidiaries are hereby authorized to execute
and file a Petition under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, thereby commencing
the Corporation’s bankruptcy cases under chapter 11 of the Bankruptcy Code (the “Bankruptcy Cases”);

        RESOLVED, that each of the officers of the Corporation, including any president or secretary
(each of the foregoing, individually, an “Authorized Officer” and, together, the “Authorized Officers”)
be and hereby is authorized, empowered, and directed to execute and file a Petition on behalf of each of the
Corporation and its Subsidiaries in order to seek relief in the Bankruptcy Court under chapter 11 of the
Bankruptcy Code;

         RESOLVED, that each of the Authorized Officers be and hereby is authorized, empowered, and
directed, in the name of and on behalf of the Corporation, to execute and file all petitions, schedules,
motions, lists, applications, pleadings, declarations, affidavits and other papers as required to accompany
the Petitions, or seek entry of first day orders, and, in connection therewith, to employ and retain assistance
of legal counsel, accountants, financial advisors and other professionals (the “Professional Retentions”),
and to take and perform any and all further acts and deeds that they deem necessary, proper, or desirable in
connection with, or in furtherance of the Petitions, the Professional Retentions, or the Bankruptcy Cases,
with a view to the successful prosecution of such cases;

        RESOLVED, that the directors of the Corporation (each, a “Director” and, together, the
“Directors”) authorize, direct, and ratify the Corporation’s hiring of the law firm of Proskauer Rose LLP
to represent the Corporation in the Bankruptcy Cases, subject to Bankruptcy Court approval;

        RESOLVED, that the Directors authorize, direct, and ratify the Corporation’s hiring of the
investment banking firm of Perella Weinberg Partners L.P. to represent the Corporation in the Bankruptcy
Cases, subject to Bankruptcy Court approval;

        RESOLVED, that the Directors authorize, direct, and ratify the Corporation’s hiring of the
professional shipping advisory firm of Snapdragon Advisory AB to represent the Corporation in the
Bankruptcy Cases, subject to Bankruptcy Court approval; and be it further
20-11850-mg   Doc 1   Filed 08/11/20 Entered 08/11/20 22:41:16   Main Document
                                   Pg 16 of 17
 20-11850-mg      Doc 1    Filed 08/11/20 Entered 08/11/20 22:41:16   Main Document
                                        Pg 17 of 17




                                          Exhibit A

                             The Corporation and its Subsidiaries

Hermitage Offshore Services Ltd.;
CB Holdco Limited;
Blue Power Limited;
Delta Cistern V Limited;
Sierra Cistern V Limited;
Petro Craft 2017-1 Shipping Company Limited;
Petro Craft 2017-2 Shipping Company Limited;
Petro Craft 2017-3 Shipping Company Limited;
Petro Craft 2017-4 Shipping Company Limited;
Petro Craft 2017-5 Shipping Company Limited;
Petro Craft 2017-7 Shipping Company Limited;
Petro Craft 2017-8 Shipping Company Limited;
Petro Combi 6030-01 Shipping Company Limited;
Petro Combi 6030-02 Shipping Company Limited;
Petro Combi 6030-03 Shipping Company Limited;
Petro Combi 6030-04 Shipping Company Limited;
Hermit Storm Shipping Company Limited;
Hermit Viking Shipping Company Limited;
Hermit Protector Shipping Company Limited;
Hermit Guardian Shipping Company Limited;
Hermit Thunder Shipping Company Limited;
Delta PSV Norway AS;
NAO Norway AS;
Hermit Galaxy Shipping Company Limited;
Hermit Horizon Shipping Company Limited;
Hermit Power Shipping Company Limited;
Hermit Prosper Shipping Company Limited;
Hermit Fighter Shipping Company Limited; and
PSV Adminco 2019 LLC
